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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 KAYLA DIONNE LEWIS, et al.,

                Plaintiffs,

 v.                                                   Civil Action No. 15-352 (RBW)

 GOVERNMENT OF THE
 DISTRICT OF COLUMBIA,

              Defendant.



                  DEFENDANT THE DISTRICT OF COLUMBIA’S
              RESPONSE TO FEDERAL DEFENDANT’S SUPPLEMENTAL
               MEMORANDUM IN SUPPORT OF MOTION TO DISMISS

                                       INTRODUCTION

       Defendant District of Columbia (District) does not oppose defendant the United States

Attorney for the District of Columbia’s (the United States) position that sovereign immunity bars

plaintiffs’ claims, as asserted, for declaratory relief against the United States. See Fed. Ded.’s

Supp. Mem. in Support of Mot. to Dismiss [73]. But this Court has already properly determined

that the United States is a necessary party, and that plaintiffs’ Third Amended Complaint requires

that the United States remain a defendant in this action. However, a finding that the United States

is immune from suit, would require the Court to determine, under Fed. R. Civ. P. 19(b), whether

plaintiffs’ Claims 1 and 2 (the Illegal Hold and Riverside claims) may proceed or should be

dismissed in the United States’ absence.

                                           ARGUMENT

       In this lawsuit, plaintiffs maintain that: (1) their Gerstein perfection holds violate the

Fourth Amendment under Gerstein v. Pugh, 420 U.S. 103 (1975) (Claim 1) and County of
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Riverside v. McLaughlin, 500 U.S. 44 (1991) (Claim 2); and (2) that they were stripped searched

in violation of the Fourth and Fifth Amendment (Claim 3). Third Am. Compl. (TAC) ¶¶ 102-114.

Plaintiffs have also asserted class allegations on behalf of similarly situated individuals that may

include individuals arrested for crimes prosecuted by the United States pursuant to D.C. Code §

23-101(c). See id. ¶¶ 116-117.

       In its May 15, 2017 Order [36], the Court ordered plaintiffs to file a Third Amended

Complaint including the United States as a necessary party under Fed. R. Civ. P. 19(a)(2). The

Court explained that the United States is a necessary party because: (1) “it could not ‘accord

complete relief among existing parties’ without the inclusion of the U.S. Attorney because any

relief it may grant on behalf of the plaintiffs, assuming the Court finds that their claims have merit,

could not bind the U.S. attorney if [s]he is not a party in this case”; and (2) the United States

“‘claims an interest relating to’ the policies and procedures governing probable cause hearings in

Superior Court, and that disposing of the suit without the U.S. Attorney could ‘impair or impede

[her] ability to protect th[at] interest.’” May 15, 2017 Order at 7. On March 7, 2018, the Court

denied plaintiffs’ motion to reconsider its holding that the United States is a necessary party under

Fed. R. Civ. P. 19. Mar. 7, 2018 Mem. Op. at 13 [55].

       Plaintiffs’ Third Amended Complaint [56] does not require a different result. The crux of

plaintiffs’ claims is that “[t]he District, through its Superior Court judicial officers and its

prosecutors, and its [Department of Corrections,” has …. [a] policy and practice of [: (1)] detaining

arrestees at initial appearances even when the judicial officer does not make an affirmative finding

of probable cause during the initial appearances,” TAC ¶ 34, to afford prosecutors the opportunity

to perfect the Gerstein affidavit in violation of Gerstein v. Pugh, 420 U.S. 103 (1975), see TAC ¶¶

35-43; and (2) holding arrestees for over forty-eight hours after arrest without a judicial finding of



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probable cause, in violation of City of Riverside v. McLaughlin, 500 U.S. 44 (1991), see TAC ¶

117. And the class definitions still may include individuals arrested for crimes prosecuted by the

United States under D.C. Code § 23-101(c). See id. ¶¶ 116-117.

       In the United States’ supplemental brief in support of its motion to dismiss [73], the United

States contends that sovereign immunity bars plaintiffs’ claim for declaratory relief against the

United States. Although the District does not oppose that position, it maintains that the United

States is a necessary party to this action and that, in the United States’ absence, the Court cannot

accord complete relief or render a decision without impairing or impeding the United States’

interest. Thus, and given the Court’s prior rulings, if the Court determines that the United States is

subject to immunity in this action, the Court should consider whether, under Fed. R. Civ. P. 19(b),

plaintiffs’ Claims 1 and 2 should be dismissed for reasons beyond those articulated in the District’s

pending motion to dismiss [59].

                                          CONCLUSION

       For the foregoing reasons, the Court should dismiss Claims 1 and 2 in the United States’

absence.

Dated: November 5, 2018.               Respectfully submitted,

                                       KARL A. RACINE
                                       Attorney General for the District of Columbia

                                       TONI MICHELLE JACKSON
                                       Deputy Attorney General
                                       Public Interest Division

                                       /s/ Fernando Amarillas
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